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 5
     Attorney for Defendant
     FRANK ALIOTO
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )       No. 2:11-cr-0190 MCE
                                                    )
                                                    )
10           Plaintiff,                             )       STIPULATION REGARDING
11
                                                    )       EXCLUDABLE TIME PERIODS
     v.                                             )       UNDER SPEEDY TRIAL ACT;
                                                    )       FINDINGS THEREON
12
     NICHOLAS RAMIREZ, et al.,                      )
                                                    )       Date: July 18, 2013
13
                                                    )       Time: 9:00 a.m.
             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
14
                                                    )
                                                    )
15
                                                    )
16
             The United States of America through its undersigned counsel, Jason Hitt, Assistant
17
     United States Attorney, together with counsel for defendant Nicholas Ramirez, Michael B.
18

19   Bigelow, Esq., counsel for defendant Ung Duong, Michael L. Chastaine, counsel for defendant

20   Phat Nguyen, Michael D. Long, Esq., counsel for defendant Justin Nonoguchi, Christopher R.
21
     Cosca, Esq., counsel for defendant Frank Alioto, John R. Manning, Esq., counsel for defendant
22
     Manuel Keith, Jan D. Karowsky, Esq., counsel for defendant Tiffany Brown, Dina L. Santos,
23

24
     Esq., and counsel for defendant Andre Cawthorne, Scott L. Tedmon, Esq., hereby stipulate the

25   following:
26
          1. By previous order, this matter was set for status conference on May 30, 2013.
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                                                        1
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        2. By this stipulation, defendants now move to continue the status conference until July 18,
 1

 2   2013 and to exclude time between May 30, 2013 and July 18, 2013 under the Local Code T-2

 3   and T-4.
 4
        3.   The parties agree and stipulate, and request the Court find the following:
 5
             a. This case was the product of a lengthy investigation in which wiretaps were utilized
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 7
                 on multiple telephones. The government has produced discovery which to date

 8               includes over 2,000 pages containing wiretap applications, periodic reports, and
 9               investigative materials. Additionally, the government has provided defense counsel
10
                 with voluminous wiretap conversations. Given this large volume of discovery, the
11
                 defense counsel needs additional time to review the discovery and consult with their
12

13               respective clients.

14           b. The Government does not object to the continuance.
15
             c. Based on the above-stated findings, the ends of justice served by granting the
16
                 requested continuance outweigh the best interests of the public and the defendants in
17
                 a speedy trial within the original date prescribed by the Speedy Trial Act.
18

19           d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20               Section 3161(h)(7)(A) within which trial must commence, the time period of May 30,
21
                 2013 to July 18, 2013 inclusive, is deemed excludable pursuant to 18 United States
22
                 Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local Code T-2
23

24
                 and T-4 because it results from a continuance granted by the Court at defendant’s

25               request on the basis of the Court’s finding that the ends of justice served by taking
26               such action outweigh the best interest of the public and the defendant in a speedy
27
                 trial.
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                                                       2
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6

 7   Dated: May 28, 2013                                          /s/ Michael B. Bigelow
 8
                                                                  MICHAEL B. BIGELOW
                                                                  Attorney for Defendant
 9                                                                Nicholas Ramirez
10   Dated: May 28, 2013                                          /s/ Michael L. Chaistaine
11
                                                                  MICHAEL L. CHASTAINE
                                                                  Attorney for Defendant
12                                                                Ung Duong
13
     Dated: May 28, 2013                                          /s/ Michael D. Long
14                                                                MICHAEL D. LONG
                                                                  Attorney for Defendant
15                                                                Phat Nguyen
16
     Dated: May 28, 2013                                           /s/ Christopher R. Cosca
17                                                                CHRISTOPHER R. COSCA
                                                                  Attorney for Defendant
18                                                                Justin Nonoguchi
19
     Dated: May 28, 2013                                           /s/ John R. Manning
20                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
21                                                                Frank Alioto
22
     Dated: May 28, 2013                                           /s/ Jan D. Karowsky
23                                                                JAN D. KAROWSKY
                                                                  Attorney for Defendant
24                                                                Manuel Keith
25
     Dated: May 28, 2013                                          /s/ Dina L. Santos
26                                                                DINA L. SANTOS
                                                                  Attorney for Defendant
27                                                                Tiffany Brown
28




                                                      3
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     Dated: May 28, 2013                                         /s/ Scott L. Tedmon
 1
                                                                 SCOTT L. TEDMON
 2                                                               Attorney for Defendant
                                                                 Andre Cawthorne
 3

 4

 5
     Dated: May 28, 2013                                         Benjamin B. Wagner
 6                                                               United States Attorney
 7
                                                                 by:/s/ Jason Hitt
 8                                                               JASON HITT
                                                                 Assistant U.S. Attorney
 9

10
                                                 ORDER
11

12            In accordance with the foregoing stipulation, IT IS SO FOUND AND ORDERED. The

13
     status conference in this matter is hereby continued to July 18, 2013 at 9:00 a.m. in Courtroom
     No. 7.
14
     DATED: May 29, 2013
15

16
                                            ___________________________________________
17
                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
18                                          UNITED STATES DISTRICT COURT

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